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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                              )
                                                      )
               v.                                     ) Docket No.: 23-cr-10159-IT
                                                      )
JACK TEIXEIRA                                         )

         ASSENTED TO MOTION TO FILE DEFENDANT’S FULL SENTENCING
                       MEMORANDUM UNDER SEAL

       Counsel for defendant, Jack Teixeira, respectfully moves that this Court, pursuant to Federal

Rule of Criminal Procedure 49.1 and Local Rule 7.2, allow the defendant to file its full Sentencing

Memorandum, as well as Exhibits A and C thereto, under seal until further order of the Court. As

grounds, counsel states that Exhibit A to the Sentencing Memorandum is a neuropsychological

assessment containing protected health information about Mr. Teixeira that should not be publicly

available; Exhibit C is a copy of a report of the Inspector General of the Department of the Air

Force, which was disclosed under seal as “Sensitive” discovery material pursuant to this Court’s

Stipulated Protective Order, dated, October 3, 2023 (Dkt. No. 111); and Defendant’s Sentencing

Memorandum contains quotations from these two exhibits. Counsel has conferred with the

Government who assents to this request. Consistent with the parties’ discussion, Mr. Teixeira will

thereafter file a redacted version of his Sentencing Memorandum, which will redact any information

subject to the protective order except that which is publicly available from other sources. The

parties intend to discuss and quote the findings of the neuropsychological assessment and its basis

in their submissions but agree that the report itself should remain under seal until further order of

the Court.
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Date: October 25, 2024                              JACK TEIXEIRA
                                                    By his Attorneys,

/s/ Brendan Kelley                                  /s/ Michael K. Bachrach
Brendan Kelley                                      Michael K. Bachrach
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                                 CERTIFICATE OF SERVICE


        I, Brendan Kelley, hereby certify that this document, filed through the ECF system, will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) on October 25, 2024.
                                                        /s/ Brendan Kelley
                                                        Brendan Kelley
